     Case 2:19-cv-00564-KWR-CG Document 74 Filed 10/21/20 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

KIMBERLY HARRIS, et al.,

            Plaintiffs,

v.                                                        CV No. 19-564 KWR/CG

THE GOVERNING BOARD OF ARTESIA
GENERAL HOSPITAL, et al.,

            Defendants.

                    ORDER VACATING STATUS CONFERENCE

      THIS MATTER is before the Court upon notice that this case has settled.

      IT IS HEREBY ORDERED that the telephonic status conference set to occur on

October 27, 2020, is VACATED.

      IT IS SO ORDERED.




                                THE HONORABLE CARMEN E. GARZA
                                CHIEF UNITED STATES MAGISTRATE JUDGE
